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                                      UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF MISSISSIPPI
                                              GULFPORT DIVISION
  IN RE:   D&L Meds, LLC                                                           CASE NO

                                                                                  CHAPTER     7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 11/13/2018                                          Signature    /s/ Danny R. Myers
                                                                     Danny R. Myers
                                                                     President


Date                                                     Signature
                18-52201-KMS Dkt 3 Filed 11/13/18 Entered 11/13/18 11:45:48 Page 2 of 2
 Debtor(s): D&L Meds, LLC              Case No:                            SOUTHERN DISTRICT OF MISSISSIPPI
                                        Chapter: 7                                      GULFPORT DIVISION


American Arbitration Association Enviro Inc.                          State Auto Insurance, Co.
1301 Atwood Ave., Ste. 211N      P.O. Box 400                         P.O. Box 182738
Johnston, RI 02919               Ellisville, MS 39437                 Columbus, OH 43218



American Express                     Humana                           Swift Financial
200 Vesey Street                     P.O. Box 361348                  3505 Silverside Road
New York, NY 10285                   Columbus, OH 43236               Wilmington, DE 19810



Canon Financial                      Mr. Sippi Beverages              U.S. Med-Equip
158 Gaitler Drive, Ste. 200          P.O. Box 16492                   7028 Gessner Road
Mt. Laurel, NJ 08054-1716            Hattiesburg, MS 39402            Houston, TX 77040



Capital One                          Multimedia Sales and Marketing   United States Trustee
P.O. Box 60599                       P.O. Box 78                      501 EAST COURT STREET, SUITE 6-430
City of Industry, CA 91716           Buffalo Grove, IL 60089          JACKSON, MS 39201



Capsa Solutions, LLC                 On Deck Capital
8206 Solutions Center                1400 Broadway
Chicago, IL 60677                    New York City, NY 10018



Cardinal Health                      Performance Source II, Ltd.
7000 Cardinal Place                  5097 N. Elston Ave, Ste. 300
Dublin, OH 43017                     Chicago, IL 60630



Chase Bank                           Pitney Bowes
P.O. Box 15298                       1 Elmcroft Road
Wilmington, DE 19850                 STamford, CT 06926



Citizens Bank                        QSI
814 Main Street                      P.O. Box 890898
Columbia, MS 39429                   Charlotte, NC 28289



Comcast                              Relay Health
PO Box 105184                        450 Lindbergh Dr.
Atlanta, GA 30348-5184               Moon Township, PA 15108



Derek A. Henderson                   Smith Drug Co.
1765-A Lelia Drive, Ste. 103         P.O. Box 1779
Jackson, MS 39216                    Spartanburg, SC 29304
